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15                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
16

17 JENNIFER TURNER, individually and on             Case No. ________
   behalf of all others similarly situated,
18                                                  CLASS ACTION COMPLAINT AND
                             Plaintiff,             DEMAND FOR JURY TRIAL
19

20       v.

21 THE TRADE DESK, INC.,

22                          Defendant.
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 1          Plaintiff Jennifer Turner, individually and on behalf of all other similar situated individuals,

 2 asserts the following against Defendant The Trade Desk, Inc. (“the Trade Desk”) based upon personal

 3 knowledge, information and belief (where applicable), and the investigation of counsel. The Court has

 4 jurisdiction over these claims as stated in Paragraphs 34 through 36.

 5                                     SUMMARY OF ALLEGATIONS

 6          1.     Individuals using internet-connected devices have a baseline expectation of privacy, in

 7 which they do not expect any company to engage in wide-spread surveillance of all their online activity.

 8          2.     Consistent with this expectation, companies have moved away from traditional means of

 9 user-based online tracking in recognition that they are privacy invasive. This includes features like Apple,

10 Inc.’s “Do Not Track” setting, which prevents the collection of advertising IDs from mobile device users,

11 as well as the planned deprecation of third-party cookies, which are used to track users across multiple

12 websites.

13          3.     The Trade Desk saw this trend away from traditional ad-targeting tools as an opportunity

14 to build a new form of online tracking that circumvented existing privacy controls. It calls this “Unified

15 ID” which it first launched in 2018. It released a new version, called Unified ID 2.0 (“UID2”), in 2020.

16          4.     Through these identity “solutions”—and complimentary products (e.g., its Universal

17 Pixel)—the Trade Desk has been secretly harvesting and monetizing directly identifiable user data from

18 millions of U.S. residents without their knowledge.
19          5.     The first version of Unified ID (“UID1”) was created by the Trade Desk as a unique

20 identifier that serves as a replacement for traditional third-party cookies. It remains consistent on all

21 websites that have adopted this ID, which allows a user to be tracked across the internet. Thus, if a user

22 visits Walmart, then Etsy, and Noom, the same UID1 is assigned to that user because they all recognize

23 UID1. This can be observed in network traffic as a “TDID” cookie.

24          6.     The UID2 is even more privacy-invasive. The UID2 framework intercepts directly

25 identifiable information (i.e., users’ email addresses and/or phone numbers) whenever they log-in, create

26 an account, or take other actions on the webpage that recognizes this identifier. It then returns a UID2

27 (either in raw or tokenized form) to the website operator directly keyed-off this personally identifying

28 information.

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 1          7.     The Trade Desk designed UID2 so that (like UID1) it is consistent (and persistent) across

 2 every other website, mobile application, connected-TV, and other platforms, that uses UID2. Thus,

 3 whenever the Trade Desk receives an email address or phone number from a different website, app, or

 4 other service, they assign the same UID2 that is already associated with that unique email address or

 5 phone number.

 6          8.     Because UID2 is not a cookie, it circumvents traditional privacy-preserving mechanisms.

 7 For instance, while traditional cookies typically expire after a limited period of time and can be reset;

 8 individuals’ email addresses and phone numbers are permanent identifiers. By creating an identifier tied
 9 to personally identifiable information that does not change, the Trade Desk has created a permanent

10 identity tracking mechanism.

11          9.     UID1 and UID2 were wildly successful and can be found across websites, mobile

12 applications, TV products, and streaming services. Because these identifiers are both unique and

13 persistent, the Trade Desk created a way to track users everywhere.

14          10.    In addition to providing an identity solution, the Trade Desk also offers unique ways for

15 companies to monetize the value of UID1 and UID2, as well as users’ data associated with those

16 identifiers.

17          11.    This includes offering targeted advertising tools. For instance, companies can embed the

18 Trade Desk’s Universal Pixel on their website to directly intercept users’ online interactions and private
19 communications, track their activity, and create actionable insights. The Trade Desk then processes this

20 information—associates it with UID1 and/or UID2—and offers companies the ability to create custom

21 audiences (group-based targeting) and lookalike audiences (i.e., finding similar users based off existing

22 users’ data), among other advertising capabilities.

23          12.    Another, separate way the Trade Desk harvests users’ data and leverages the power of its

24 UID2 is through real-time bidding—i.e., the auction-like process that determines the ads users see on

25 websites or other web properties they visit.

26          13.    The Trade Desk is one of the fastest growing entities operating as a demand-side platform

27 (“DSP”) in the real-time bidding process. A DSP acts as a middleman between a publisher (the person

28 offering ad space) and the advertiser (the person showing the ad).

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 1          14.     The Trade Desk’s DSP allows advertisers to bid on “impressions” (i.e., ad space) in real

 2 time based on personally identifiable user data associated with that individual’s UID1/ UID2. This

 3 includes data the Trade Desk has collected from both the advertiser and the publisher to facilitate the

 4 ad-purchasing process.

 5          15.     With troves of data from both the advertiser and publisher associated with the same unique

 6 identifier, the Trade Desk has positioned itself to be a dominant force in targeted advertising because it

 7 knows exactly who is the best fit to see any given advertisement at any given time, unlike other

 8 competitors.
 9          16.     The Trade Desk directly profits from facilitating this hyper-specific form of ad targeting.

10 The Trade Desk reports that a “record” $12 billion has been spent on the Trade Desk platform and that it

11 has made over $2.4 billion in revenue.

12          17.     Plaintiff and Class Members had no knowledge that the Trade Desk was using unique

13 identifiers to track them across the web, mobile applications, and other internet-connected devices, or

14 that it was using this data to facilitate highly specific targeted advertising. The Trade Desk itself offers

15 no consumer facing policies or disclosure, nor does it prompt users viewing the websites or other web

16 properties that use its identifiers of its presence, data collecting, or processes.

17          18.     The Trade Desk’s interception of the contents of their communications with third parties

18 through its tracking technology violates Cal. Penal Code § 631, and its installation of a tracking device
19 on each of the websites they use across the internet violates Cal. Penal Code § 638.51(a), as well as other

20 laws.

21                                                    PARTIES

22      A. Plaintiff

23          19.     Plaintiff Jennifer Turner is a resident of Tulare County, California.

24          20.     Plaintiff Turner used several online services, including Etsy and Noom, that implemented

25 the Trade Desk’s identifiers and tracking software.

26          21.     For each of these services, Plaintiff created an account and logged-in using her email

27 address.

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 1          22.    Unbeknownst to Plaintiff Turner, the Trade Desk intercepted her personal email address

 2 from online services she used, processed this information, and assigned her a UID2. The Trade Desk

 3 returned the UID2 to these services in either “raw” or tokenized form.

 4          23.    Many of these websites, including Etsy and Noom, also use the Trade Desk’s Universal

 5 Pixel. Through this technology, the Trade Desk intercepted the UID2 it assigned to Plaintiff Turner, as

 6 well as the contents of her communications with Etsy and Noom, such as the specific pages she viewed

 7 or the content of her searches. The Trade Desk processed this data and stored it on its own servers to

 8 target Plaintiff Turner with its customer’s ads.
 9          24.    The Trade Desk used the UID2 (and UID1) to continue to track Plaintiff Turner across the

10 web, mobile devices, connected TVs, and other platforms.

11          25.    When Plaintiff Turner visited websites or used services operated by participating

12 publishers, the Trade Desk used Plaintiff Turner’s UID2 to recognize her as the intended recipient of a

13 targeted advertisement.

14          26.    Acting as a DSP, The Trade Desk used Plaintiff Turner’s UID2, along with data reflecting

15 her online communications, to facilitate real-time bidding for ad space that would ultimately be served

16 to her. Thus, the Trade Desk directly profited as a DSP through the use of Plaintiff Turner’s identifiable

17 data.

18          27.    Plaintiff Turner did not consent to the Trade Desk intercepting her personally identifiable

19 information, assigning and using unique identifiers to track her across internet-enabled services and

20 devices, or intercepting and using the contents of her private communications for-profit.

21      B. Defendant

22          28.    The Trade Desk is a Delaware corporation with its principal place of business located in

23 Ventura, California.

24          29.    The Trade Desk knowingly and intentionally developed persistent, unique identifiers to

25 track Plaintiff and Class Members across internet-connected services.

26          30.    The Trade Desk knew that its identifiers, and especially UID2, circumvented existing

27 privacy protections (such as “Do Not Track” and widespread adoption of third-party cookie blocking by

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 1 major browsers like Safari and Firefox) because it developed this identifier specifically as an alternative

 2 to such privacy-preserving mechanisms.

 3          31.     The Trade Desk offered these services to websites, mobile applications, television

 4 providers, and other services so that it would have a unique way of tracking Plaintiff and Class Members

 5 across devices and platforms.

 6          32.     The Trade Desk knowingly and intentionally used its identifiers, and data associated with

 7 it, to facilitate targeted advertisements for profit.

 8          33.     The Trade Desk marketed its technology as offering privacy-preserving ad capabilities,

 9 despite understanding it created persistent identifiers, including UID2, that is directly tied to permanent,

10 directly identifiable information, like email and phone number.

11                                       JURISDICTION AND VENUE

12          34.     Jurisdiction is proper under 28 U.S.C § 1332(d) because: (1) the amount in controversy

13 for the Class exceeds $5,000,000 exclusive of interest and costs, (2) there are more than 100 putative

14 members of the Class, and (3) a significant portion of Class Members are citizens of a state different from

15 the Trade Desk.

16          35.     This Court has personal jurisdiction over the Trade Desk because its principal place of

17 business is in California. Additionally, this Court has personal jurisdiction over the Trade Desk because

18 a substantial part of the events and conduct giving rise to Plaintiff’s claims occurred in California,
19 including the Trade Desk’s interception and use of Plaintiff’s personally identifiable information.

20          36.     Venue is proper under 28 U.S.C. §1391(b), (c), and (d) because a substantial portion of

21 the conduct described in this Class Action Complaint was carried out in this District. The Trade Desk

22 maintains substantial business operations in this District, including, upon information and belief,

23 activities implementing the Trade Desk’s identity resolution products and Unified ID 2.0, and demand-

24 side platform, managing data partnerships, and facilitating the sale of data through real-time bidding

25 auctions.

26          37.     Pursuant to Civil L.R. 3-2(c), the assignment to the division is proper because a substantial

27 part of the conduct which gives rise to Plaintiffs’ claims occurred in this District. Trade Desk’s conduct,

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 1 as described herein, is directed at Internet users and people throughout the United States, including in

 2 San Francisco County California, where the Trade Desk maintains offices and business operations.

 3                                  BACKGROUND OF USER TRACKING

 4          38.     Over a decade ago, Apple, Inc. announced that it would no longer allow app developers

 5 to intercept “UDIDs” which are unique, device-specific identifiers. These persistent identifiers were

 6 deprecated because they are seen as privacy intrusive—they cannot be reset and were used to facilitate

 7 device-specific targeted advertising.

 8          39.     Starting in 2020, Apple, Inc. and Google, LLC rocked the digital advertising world once

 9 again by announcing the eventual depreciation of advertising identifiers (IDFA and ADID) and third-

10 party cookies in favor of more privacy-preserving mechanisms. Advertising identifiers were seen as a

11 replacement for UDIDs because they could be reset by the user, as can third-party cookies. However, this

12 did not change that they are ultimately privacy-invasive, as they allow ad targeting at the user level.

13          40.     This created serious concerns within the multi-billion dollar digital advertising industry.

14 Digital advertisers relied on these device identifiers and cookies to uniquely identify individuals who use

15 their products and services—and other entities’ products and services—to curate and serve targeted

16 advertisements to individuals, based on profiles of information reflecting web and app activity indexed

17 to unique identifiers present in third-party cookies.

18          41.     For instance, a mobile app developer would use identifiers like the IDFA and ADID

19 created by iOS and Android phones, to track user activity across their mobile application, understand

20 what actions users took and their preferences, interests, and other information. The company would then

21 send that information to an advertising company, such as Google, to serve targeted advertisements to that

22 customer using this unique identifier.

23          42.     While companies scrambled to find solutions to the eventual depreciation of unique device

24 identifiers and third-party cookies, many options were not nearly as lucrative. For instance, many

25 companies began tracking “sessions” (i.e., one interaction with the webpage) and then sought to use

26 cross-device tracking alternatives to match each of these unique sessions to the same user. However, this

27 alternative is not nearly as powerful as directly tracking an individual at the user-level rather than session-

28 level.

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 1                              THE TRADE DESK’S UNIQUE IDENTIFIERS

 2          43.     Enter the Trade Desk. The Trade Desk capitalized on the move away from device

 3 identifiers and third-party cookies by Apple and Google by creating a persistent unique, cross-platform

 4 identifier of its own.

 5          44.     The first identity solution was called Unified ID 1.0 (UID1). This is reflected in network

 6 traffic as “TDID.” This identifier was developed as a replacement to traditional third-party cookies. The

 7 UID1 is consistent across websites. Thus, if a user logs in to Marriot, then Etsy, and then another website

 8 that uses UID1, the Trade Desk—and its partners—understands this is the same user and can link all their
 9 online activity to the same identifier. 1

10          45.     The Trade Desk went on to develop Unified ID 2.0 (“UID2”). While billed as an “open-

11 source identity solution” that is “privacy-conscious”, it is just the opposite.

12          46.     UID2 works by intercepting personally identifiable data (which the Trade Desk calls

13 “directly identifying information” (“DII”)), such as email addresses and phone numbers, and assigns a

14 pseudonymized identifier in its place.

15                                                   FIGURE 1

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            47.     The Trade Desk refers to this as the “raw” UID2.
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            48.     Because this DII is mapped to a unique UID2, individuals remain personally identifiable
23
     by all entities that use the Trade Desk platform. For instance, each time a user provides their email address
24
     or phone number to an online service that uses UID2, this information is intercepted and hashed by the
25
     UID2 Operators.
26

27   1
    Companies that use TDID include Noom, OldNavy, Marriot, Esty, Buzzfeed, Walmart, and Variety.
28 Thus, if a consumer visited all of these websites, they are tracked consistently and identified by the same
   TDID.
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 1           49.   UID2 “Operators” run, in essence, a directory that allows entities to look up a specific

 2 individuals’ identity profile based on submitted DII. The UID2 Operator processes DII submitted by

 3 website or app developers and either assigns a new UID2 to that user or returns the existing value mapped

 4 to the DII submitted. Because the UID2 remains the same for each user based on their DII, it can then

 5 be used to track their activity across the website or service.

 6           50.   There are two types of Operators who perform this interception: Public Operators and

 7 Private Operators. The Trade Desk itself operates as the Public Operator for UID2. Thus, the Trade Desk

 8 is the primary entity that intercepts users’ email addresses and phone numbers and the entity who sends
 9 back to the website the UID2 identifier. By default, the UID2 is stored in the user’s local storage, rather

10 than as a typical cookie.

11           51.   Trade Desk recommends that online services use a “Public Operator” (i.e., itself) over

12 Private Operators. Figure 2 describes how this process works:

13                                                 FIGURE 2 2

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23           52.   Importantly, UID2 is a form of pseudonymized—not anonymized—data. This mean it

24 remains identifiable because it is tied to actual underlying DII. Thus, while UID2 does not contain the

25 users’ actual email address or phone number, it serves as the functional equivalent of those values based

26 on its direct mapping to them.

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     2
         https://unifiedid.com/docs/overviews/overview-data-providers
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 1          53.     The Trade Desk’s use of hashing in this process does not protect users’ emails and phone

 2 numbers, or render the data anonymous. Indeed, this methodology has been repeatedly criticized,

 3 including by the Federal Trade Commission.

 4          54.     The Federal Trade Commission has confirmed that “hashing” email addresses and phone

 5 numbers that always return the same identifying number (like here) is both an “old” and “flawed”

 6 methodology because the hashes are not “anonymous” and “can still be used to identify users, and their

 7 misuse can lead to harm.” It cautions: “[c]ompanies should not act or claim as if hashing personal

 8 information renders it anonymized.”
 9          55.     Based on how UID2 is configured, every time a user enters the same email address or

10 phone number on another website or platform, the same UID2 is used.

11          56.     The Trade Desk admits this: “the process of generating a raw UID2 from DII is the same,

12 and results in the same value, no matter who sent the request.”

13          57.     Therefore, the UID2 tracks the user across all websites or online services that use UID2,

14 so long as the user logs in or creates an account using the same identifying email or phone number.

15          58.     Especially problematic, UID2 is a stronger identifier than those that previously existed.

16 For instance, first-party cookies are limited in that they only track a user on one specific website. UID2

17 goes further by tracking users across all websites and apps using this identifier. This makes it possible

18 to create an identity profile that serves advertisers’ needs, by aggregating data across all apps and websites
19 a person uses, at the expense of individual’s right to privacy.

20          59.     Moreover, while cookies expire or can be reset, UID2 is directly tied to email addresses

21 and phone numbers, which are permanent identifiers. Thus, they cannot be reset or time-out in the same

22 way as cookies.

23          60.      The UID2 has been widely adopted and used by the Trade Desk to provide targeted

24 advertising, including through lookalike audiences, conversion tracking, and real-time bidding, described

25 further below.

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 1                             THE TRADE DESK’S TARGETTING SERVICES

 2           61.    The Trade Desk created UID2 as a catalyst to position itself as a go-to partner for advanced

 3 advertising targeting. To achieve this, the Trade Desk created complimentary products that use UID2 to

 4 track and “activate” users’ data directly with the Trade Desk.

 5           62.    One of the products the Trade Desk offers is the Trade Desk Universal Pixel. Using this

 6 pixel, the Trade Desk intercepts the UID2 and online users’ private communications directly from

 7 webpages and redirects it to its own servers so it can be used for advertisements, including the creation

 8 of custom audiences, lookalike audiences, and campaign optimization.
 9                                                 FIGURE 3 3

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17                 REPRESENTATIVE EXAMPLES OF UID2 & THE UNIVERSAL PIXEL
18           63.    The Trade Desk openly advertises the capabilities of using all its products together. For
19 instance, in one case study, the Trade Desk boasts that a “luxury hotel” adopted UID2. It then used the

20 Trade Desk’s Universal Pixel—like the websites used by Plaintiff—to understand and target users who

21 took certain actions, such as adding products to their cart. It claims the results were “outstanding” and

22 resulted in “well over 200 bookings.”

23           64.    Several other entities have adopted both UID2 and the Trade Desk’s Universal Pixel given
24 their complementary nature.

25           65.    For instance, when a user visits Marriott’s website, this triggers both a UID2 token and
26 the Trade Desk Universal Pixel. This can be observed in network traffic.

27

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     3
         https://unifiedid.com/docs/sharing/sharing-use-cases
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 1          66.     First, the Trade Desk’s initial loader executes, loading the UID2 framework, and preparing

 2 to perform identity matching, as indicated by up_loader.1.1.0.js. This establishes the Trade Desk as the

 3 Operator for Marriott.

 4          67.     The next the Trade Desk Universal Pixel code runs through the execution of

 5 universal_pixel.1.1.0.js. During this process, the Trade Desk’s code intercepts and processes DII (e.g.,

 6 email or phone number), and then checks for existing UID2 and the TDID (the Trade Desk’s UID1). This

 7 information is returned to Marriott in either tokenized or raw form. If an UID2 does not exist, The Trade

 8 Desk prepares and returns a new one.
 9          68.     The Trade Desk Universal Pixel code then initiates a connection to a Trade Desk domain:

10 insight/adsrvr.org/track/up. This is where data captured by the Pixel is rerouted back to Trade Desk,

11 including UID1 (observed as TDID) and UID2. The Trade Desk not only receives these unique identifiers,

12 but also information about the user’s interaction on Marriott. For instance, if the user searched for hotels

13 in Clearwater, Florida, the Pixel relays that information through a full-string URL to the Trade Desk. 4

14 The Trade Desk also receives—as a required field—the “adv” parameter, reflecting the ID for the specific

15 website visited by the user.

16          69.     As another example, Esty—which Plaintiff used—also runs the Trade Desk UID2

17 framework and functions in the same way. When users visit or log-in to Etsy, the Trade Desk’s code runs

18 in the background. It detects and intercepts directly identifiable information (e.g., email addresses), and
19 assigns or generates the existing UID2. The Universal Pixel transmits the UID2 and other information

20 about the user back to the Trade Desk. For instance, if a user searches on Etsy for a product, the Trade

21 Desk receives the exact search the user input, alongside the UID2 token and other information. The Trade

22 Desk also receives—as a required field—the “adv” parameter, reflecting the ID for the specific website

23 visited by the user.

24          70.     The same is true for WeightWatchers. When a user visits or logs-in to WeightWatchers,

25 the Trade Desk’s code is waiting in the background to intercept directly identifiable information to assign

26   4
     Especially problematic, it is clear this data does not stay with the Trade Desk itself. This is clear from
27 the TDCPM cookie, which is (yet again) offered by the Trade Desk. This cookie is used to share the UID2
   token, as well as additional information like the user’s activity on the website, with additional third parties.
28 The TDCPM cookie on the Marriott website shows companies like LiveRamp and AppNexus also receive
   this data.
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 1 or generate a UID2. The WeightWatchers website also incorporates the Universal Pixel, through which

 2 the Trade Desk intercepts UID2 and/or UID1 (observed as TDID), as well as the content of users’

 3 communications with WeightWatchers. Thus, if a user visits WeightWatcher’s weight-loss medication

 4 page, the Trade Desk intercepts the UID2 and/or UID1, alongside full the URL string and can discern

 5 that the user is interested in or takes weight loss medication. The Trade Desk also receives—as a required

 6 field—the “adv” parameter, reflecting the ID for the specific website visited by the user.

 7           71.     As a final example, the Trade Desk’s UID2 framework and Universal Pixel is also present

 8 on the Noom website, another web property Plaintiff engaged with. Like above, the Trade Desk intercepts
 9 DII to assign and generate a UID2. If a Noom user opts to complete a Noom survey for weight-loss

10 medication, the Trade Desk’s Universal Pixel intercepts this information, including UID2 and/or UID1,

11 as well as data reflecting that the user is completing a “clinical” survey. The Trade Desk also receives—

12 as a required field—the “adv” parameter, reflecting the ID for the specific website visited by the user.

13           72.     The Trade Desk also permits online services to send data directly to the Trade Desk, which

14 avoids detection, as such data transfers cannot be observed by reviewing network traffic. This compounds

15 the egregiousness of the Trade Desk’s privacy violation, as so much of its conduct already occurs in

16 secret.

17                             THE USE OF UID2 FOR REAL-TIME BIDDING

18           73.     One of the other primary ways UID2 is used is during a process known as real-time

19 bidding, described briefly below.

20           74.     When a user visits a website or other service, it may use “programmatic ads.” In those

21 instances, the website owner is known as an ad “Publisher.”

22           75.     Publishers share “authenticated” personally identifiable information, like email addresses,

23 with UID2 Operators prior to creating what is known as a “bid request.” The Operators (e.g., the Trade

24 Desk) then return a UID2 Token that is sent alongside the ultimate bid request. If a Publisher opts to send

25 an existing UID2 token (rather than DII directly), UID2 Operators decrypt this information to identify

26 the individual.

27           76.     In addition to UID2, the bid request typically contains other information from the

28 Publisher about the user who is going to see the eventual ad (e.g., additional user information such as

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 1 location, demographics, and behaviors), ad details (e.g., format, size, placement, URL), and auction

 2 information (such as Auction ID, time to respond, etc.).

 3           77.   The Publisher pushes the UID2 and bid request into what is known as the “bid stream.”

 4           78.   The Trade Desk also sits on the other side of this transaction as a DSP. In this role, the

 5 Trade Desk receives the bid steam, alongside UID2, which it then decrypts at the time of the bid request

 6 to understand who will ultimately see the ad and match it to potential advertisers interested in that user.

 7                                                  FIGURE 3 5

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17           79.   As a DSP, the Trade Desk also receives information from the potential advertiser. This
18 includes information such their potential ad campaign, including their budget (i.e., the maximum and
19 minimum amount they are willing to pay), what the ad will look like and contain, as well as targeting

20 criteria and identity data, including UID2.

21           80.   If the potential ad space matches who the advertiser seeks to target (which the Trade Desk
22 knowns through its ever-present UID2), the Trade Desk submits a real-time bid to the ad exchange to win

23 the ad space.

24           81.   This all happens in an auction that lasts milliseconds. Advertisers compete with one
25 another to show their ad in the ad space based on how valuable it is to them to show that particular ad to

26 that particular user. The highest bidder wins.

27

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     5
         https://unifiedid.com/docs/sharing/sharing-use-cases
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 1            82.    Because the Trade Desk fully controls UID2 and receives this information from both the

 2 Publisher and the advertiser, it had unique insights that other DSPs lack and can better target individual

 3 users, including Plaintiff and Class Members.

 4            83.    The Trade Desk facilitates these types of hyper-specific targeted advertisements—all

 5 based on UID2—across platforms ranging from mobile phones and webspace, to inter-connected TVs.

 6            84.    Figure 4—which comes from the Trade Desk documentation—confirms how this process

 7 works. In this diagram, the Trade Desk acts as the “ID Operator” as well as the “DSP.” As Figure 4

 8 shows, it receives DII directly from the publisher and advertiser and then uses UID2 to place the bid
 9 requests for profit.

10                                                 FIGURE 4 6

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23
                          THE USE OF UID2 BY THIRD-PARTY DATA PROVIDERS
24
              85.    To make matters worse, it is not just website and app developers who are using UID2 to
25
     uniquely identify users. As reported by the Trade Desk’s CEO, 75% of “third-party data ecosystem[s]”
26

27

28
     6
         https://itega.org/wp-content/uploads/2021/01/Trade-Desk-UID2-Overview-Dec-2020.pdf
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 1 (i.e., data brokers) are also using UID2 as a way to identify users in their data sets. The ability to join

 2 commercially available data with UID2 makes all data collected by the Trade Desk identifiable.

 3          86.     Data brokers using UID2 to track and uniquely identify online users include Nielsen,

 4 Acxiom, Oracle, and Adobe, each of which maintains their own identity platform for linking data back

 5 to specific individuals to facilitate targeted advertising. The existence of these additional profiles only

 6 further confirms the identifiability of sensitive information collected by the Trade Desk.

 7          87.     Many data brokers provide this data directly to the Trade Desk, increasing its visibility

 8 into online users and its ability to target them with ads.
 9 PLAINITFF AND CLASS MEMBERS HAVE A REASONABLE EXPECTATION OF PRIVACY

10          88.     The internet is not the Wild West. Internet users do not expect to be tracked across every

11 single one of their internet-connected devices, including their web browser, apps, TVs, and more.

12          89.      Indeed, the advent of privacy-preserving mechanisms like Apple’s “Do Not Track”

13 feature, which prevents companies from collecting IDFA/ADID from individuals who opt-out, have

14 confirmed this expectation.

15          90.     One study by Flurry Analytics in 2021 shows that 88% of iOS users worldwide have

16 availed themselves of this feature, indicating an intent to prevent apps from tracking them on their mobile

17 devices.

18          91.      Users do not know—and did not expect—that the Trade Desk would circumvent these

19 protections by creating a new identifier that is even better than IDFA/ADID at tracking them across

20 services. Several privacy experts have warned that UID2 is especially problematic—going so far as to

21 classify it as a “regression in privacy”—precisely because it subverts these privacy-preserving

22 mechanisms (i.e., “Do Not Track” and private browsing mode).

23          92.     The Trade Desk itself does not provide any information for Plaintiff and Class Members

24 to understand which websites or online services use their UID2, such that they have no way of uncovering

25 which services do or do not contain the Trade Desk’s tracking technology. There is also no way for

26 Plaintiff or Class Members to opt out of UID2 or to avoid the Trade Desk capturing, storing, and tracking

27 their use of apps and websites, or its sharing of that data with third parties.

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 1           93.    Plaintiff and Class Members reasonably expect that their online activity would not be

 2 tracked by an unknown company, let alone that it would be used to target them across online services for

 3 profit.

 4           94.    The Trade Desk did not have consent to perform this type of omni-present cross-device

 5 tracking using Plaintiff and Class Members’ email addresses and phone numbers.

 6           THE TRADE DESK UID2 VIOLATES ESTABLISHED DATA PRIVACY REGIMES

 7           95.    The Trade Desk markets itself as a company built with data-privacy protections in mind,

 8 including the General Data Protection Regulation (GDPR) and the California Consumer Privacy Act
 9 (CCPA).

10           96.    The GDPR and CCPA both mirror Fair Information Practice Principles (FIPPs). Two of

11 the core tenants of FIPPs are (1) clear user consent; and (2) data minimization.

12           97.    The Trade Desk does neither of these things. Despite creating a cross-device persistent

13 user identifier, the Trade Desk makes zero effort to ensure Plaintiff and Class Members are even aware

14 of where this technology is used. This is clear from its own Privacy Policy, which makes no attempt to

15 identify the entities using its services.

16           98.    Separately, the creation of an ever-present persistent identifier is directly at odds with the

17 idea of data minimization, which requires that data should be stored and used only for the period of time

18 in which that data is necessary. Indeed, the fact that device and user-specific identifiers are persistent
19 (and not deleted) is exactly why even device identifiers like IDFA are being phased out by companies

20 like Apple to preserve users’ privacy.

21                                      TOLLING & CONCEALMENT

22           99.    The earliest Plaintiff and Class Members could have discovered the Trade Desk’s conduct

23 was shortly before the filing of this Complaint. Plaintiff became aware of the Trade Desk conduct through

24 communications with counsel that are protected from disclosure.

25           100.   Plaintiff and Class Members, despite their due diligence, could not have discovered the

26 Trade Desk’s conduct by virtue of how its technology works and its lack of disclosures.

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 1          101.    The Trade Desk’s interception of personally identifiable information and assignment of

 2 UID2 and other identifiers happens inconspicuously in the background. This process is undetectable to

 3 an ordinary person, highly technical, and prevented Plaintiff and any Class Member from uncovering it.

 4          102.    The Trade Desk had exclusive knowledge that UID2, its other identifiers, and tracking

 5 technology were tracking Plaintiff and Class Members across the internet alongside their private

 6 communications on third-party apps, websites, and other services. Similarly, the Trade Desk had

 7 exclusive knowledge that it was using this information to propagate one of the largest targeted advertising

 8 systems.
 9          103.    The Trade Desk’s fraudulent conduct prevented Plaintiff and Class Members from

10 discovering its conduct. The Trade Desk maintained a privacy policy that lacked adequate disclosures for

11 Plaintiff and Class Members to uncover the Trade Desk ever intercepted, had, or used their data. The

12 Trade Desk publicly held out its identifiers and technology as privacy-preserving mechanisms, even

13 though they were not.

14          104.    The Trade Desk was under a duty to disclose the nature and significance of its data

15 interception and use practices—especially in light of its public statements—but did not do so. The Trade

16 Desk is therefore estopped from relying on any statute of limitations by virtue of the discovery rule and

17 doctrine of fraudulent concealment.

18                                    CLASS ACTION ALLEGATIONS

19          105.    Plaintiff brings this action under Fed. R. Civ. P. 23 individually and on behalf of the

20 following Classes:

21              Identifier Class: All natural persons in the United States whose email address and/or phone
22              number was intercepted to assign a UID2 or other similar identifier owned and controlled by
                the Trade Desk.
23
                Communications Class: All natural persons in the United States who had their
24              communications with third parties intercepted or used by the Trade Desk without their
                consent.
25

26          106.    The Classes exclude: (1) any judge presiding over this action or their immediate families;
27 (2) the Trade Desk, its subsidiaries, affiliates, parents, successors, predecessors, and any other entity in

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 1 which the Trade Desk has a controlling interest; (3) the Trade Desk’s current and former employees,

 2 officers, and directors; and (4) Plaintiff’s and the Trade Desk’s counsel.

 3          107.    Numerosity. While the precise size of the Classes are currently unknown to Plaintiff, each

 4 of the Classes consists of well over a million individuals and members of each of the Classes can be

 5 identified through the Trade Desk’s records.

 6          108.    Predominant Common Questions. The Classes’ claims present several common

 7 questions of law and fact that predominant over questions (if any) that affect individual class members.

 8 This includes:
 9              a. Whether the Trade Desk violated Plaintiff’s and the Classes’ privacy rights;

10              b. Whether the Trade Desk engaged in unfair and deceptive conduct;

11              c. Whether the Trade Desk’s acts and practices violate the California Invasion of Privacy

12                  Act;

13              d. Whether Plaintiff and Class Members are entitled to damages and/or equitable relief,

14                  including injunctive relief, restitution, and disgorgement; and

15              e. Whether the Trade Desk was unjustly enriched.

16          109.    Typicality. Plaintiff’s claims are typical of all Class Members because they arise from the

17 same conduct and are based on the same legal theories.

18          110.    Adequate Representation. Plaintiff will (and has) fairly and adequately represented the

19 Classes and protected the interest of all Class Members. Plaintiff has retained competent counsel with

20 significant experience in class action and data privacy litigation. Plaintiff and counsel have no interest

21 that conflicts with the interests of the Classes and is not subject to any unique defenses. Plaintiff and their

22 counsel will vigorously prosecute this action to advance the interest of the Classes and have the resources

23 necessary to do so.

24          111.    Substantial Benefits. A class action is superior to all other possible methods to fairly and

25 efficiently adjudicate this case and controversy, and joinder of all Class Members is impracticable.

26 Proceeding as a class case has significant advantages to individual litigation, including: (1)

27 comprehensive oversight by a single court, which avoids inconsistent outcomes; and (2) saving time and

28 expense by litigating the same claims arising from the same conduct all in one action.

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 1          112.     Plaintiff reserves all rights to revise or modify the class allegations based on facts and

 2 legal developments following additional investigation or discovery.

 3                         CALIFORNIA LAW APPLIES TO THE ENTIRE CLASS

 4          113.     California law applies to every Class Member’s claims. The Trade Desk maintains its

 5 principal place of business in California and conducts substantial business in California, including the

 6 activities giving rise to Plaintiff’s and Class Members’ claims. California has a substantial, overriding

 7 interest in regulating the conduct of the Trade Desk under its laws. The Trade Desk’s decision to reside

 8 in California and avail itself of California’s laws makes the application of California law to its conduct
 9 alleged herein constitutionally permissible.

10          114.     Under California’s choice of law rules, the application of California law is appropriate

11 because California has significant contacts to the claims and Parties in this action, California has a greater

12 interest in applying its laws, given the Trade Desk’s residency in the State and the location of the conduct

13 at issue, over any other state.

14                                           CLAIMS FOR RELIEF

15                                     FIRST CAUSE OF ACTION
                   Violation of Common Law Invasion of Privacy (Intrusion Upon Seclusion)
16                                  On Behalf of the Plaintiff and Classes
17          115.     Plaintiff re-alleges and incorporates the preceding allegations of this Complaint with the
18 same force and effect as if fully restated herein.
19          116.     Intrusion upon seclusion requires pleading: (1) that the defendant intruded on a place,
20 conversation, or matter in which plaintiff has a reasonable expectation of privacy; and (2) that the

21 intrusion would be highly offensive to a reasonable person.

22          117.     The Trade Desk’s collection, interception, and use of Plaintiff and Class Members’ phone
23 number and email address constitutes an intentional intrusion. As does its assignment of a UID1 and

24 UID2, the latter of which is based off these direct identifiers, to track and profile Plaintiff and Class

25 Members based on their online activity.

26          118.     The Trade Desk’s interception and use of Plaintiff and Class Members private online
27 communications, associated with their UID1 and/or UID2, is likewise an intentional intrusion upon

28 Plaintiff and Class Members’ solitude.

                                                20
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 1          119.    Plaintiff and Class Members reasonably expected their personally identifiable

 2 information, alongside their online activity, would not be intercepted or used by an unknown third-party.

 3 Email addresses and phone numbers are particularly private because they are directly identifiable,

 4 permanent identifiers. Plaintiff and Class Members reasonable expected this information would remain

 5 private and confidential and would not be intercepted or used by third parties without their consent.

 6          120.    This expectation is particularly heightened given that there were no disclosures of the

 7 Trade Desk’s involvement in intercepting, processing, and using their personally identifiable information

 8 and online communications.
 9          121.    Plaintiff and Class Members did not consent to, authorize, or understand Trade Desk’s

10 interception or use of their private data.

11          122.    The Trade Desk’s conduct is highly offensive because it violates established social norms.

12 Consumers do not expect to be surveilled whenever they use the internet, especially in light of state laws

13 requiring companies to make adequate disclosures regarding their collection and use of data.

14          123.    The Trade Desk’s conduct is particularly offensive in light of the secretive nature in which

15 it takes place. Plaintiff and Class Members had no way of knowing the Trade Desk collected their

16 personally identifiable information and other online communications, and the Trade Desk did so from

17 thousands of websites, if not more.

18          124.    The Trade Desk’s conduct caused Plaintiff and Class Members harm and injury, including

19 a violation of their privacy interests.

20          125.    Plaintiff and Class Members seek damages to compensate the harm to their privacy

21 interests, among other damages, as well as disgorgement of profits made by the Trade Desk as a result of

22 its intrusion upon seclusion.

23          126.    Defendant’s conduct was willful, knowing, and carried out with a conscious disregard for

24 Plaintiff’s rights, Plaintiff are entitled to punitive and exemplary damages.

25          127.    Plaintiff and Class Members also seek any other relief the Court may deem just and proper.

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 1                                      SECOND CAUSE OF ACTION
             Violation of Article I, Section 1 of the California Constitution (Invasion of Privacy)
 2                                    On Behalf of the Plaintiff and Classes
 3          128.    Plaintiff re-alleges and incorporates the preceding allegations of this Complaint with the
 4 same force and effect as if fully restated herein.

 5          129.    Article I, Section 1 of the California Constitution provides: “All people are by nature free
 6 and independent and have inalienable rights. Among these are enjoying and defending life and liberty,

 7 acquiring, possessing, and protecting property, and pursuing and obtaining safety, happiness, and

 8 privacy.” California Constitution, Article I, Section 1.
 9          130.    To state a claim for invasion of privacy under the California Constitution, a plaintiff must
10 establish (1) a legally protected privacy interest; (2) a reasonable expectation of privacy; and (3) an

11 intrusion so serious in nature, scope, and actual or potential impact as to constitute an egregious breach

12 of the social norms.

13          131.    The right to privacy in California’s constitution creates a right of action against private
14 and government entities.

15          132.    Plaintiff and Class Members have and continue to have a reasonable expectation of
16 privacy in their personal information, identities, and private data, pursuant to Article I, Section I of the

17 California Constitution.

18          133.    The identifiable and private information the Trade Desk intercepted, stored, and used
19 without Plaintiff and Class Members’ consent was used to track them consistently, and persistently, across

20 internet-connected services and to serve targeted advertisements. The manner in which the Trade Desk

21 intercepted this information defeated established privacy-mechanisms and social norms.

22          134.    This conduct constitutes an extremely serious invasion of privacy that would be highly
23 offensive to a reasonable person. Reasonable individuals do not expect that there is an entity intercepting

24 and monitoring all of their online activity, let alone using it for profit.

25          135.    The Trade Desk’s conduct violated the privacy of hundreds of thousands (if not millions)
26 of Class Members, including Plaintiff. The Trade Desk did not have consent to intercept this information,

27 let alone use it.

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 1          136.    Plaintiff and Class Members seek damages to compensate the harm to their privacy

 2 interests, among other damages, as well as disgorgement of profits made by the Trade Desk as a result of

 3 its intrusion upon seclusion.

 4          137.    Defendant’s conduct was willful, knowing, and carried out with a conscious disregard for

 5 Plaintiff’s rights, Plaintiff is entitled to punitive and exemplary damages.

 6          138.    Plaintiff and Class Members also seek any other relief the Court may deem just and proper.

 7                                       THIRD CAUSE OF ACTION
                         Violation of the California Invasion of Privacy Act (“CIPA”)
 8                                          Cal. Penal Code § 631
 9                                   On Behalf of the Plaintiff and Classes
            139.    Plaintiff re-alleges and incorporates the preceding allegations of this Complaint with the
10
     same force and effect as if fully restated herein.
11
            140.    CIPA § 631 prohibits any person who uses a “machine, instrument, contrivance” or in
12
     “any other manner”: (1) intentionally taps or makes an unauthorized connection with “any telegraph or
13
     telephone wire, line, cable, or instrument”; (2) willfully and without consent of “all parties to the
14
     communication” or in “any unauthorized manner” reads or “attempts to read” or “learns the contents or
15
     meaning of any message, report, or communication while the same is in transit or passing over any wire,
16
     line, or cable, or is being sent from, or received at any place within” California; (3) “uses, or attempts to
17
     use, in any manner, or for any purpose, or to communicate in any way” information so obtained; or (4)
18
     from aiding, agreeing, employing, or conspiring with “any person or persons to unlawfully do, or permit,
19
     or cause to be done any of the acts or things mentioned above in this section.”
20
            141.    The Trade Desk is a person under CIPA § 631.
21
            142.    The Trade Desk maintains its principal place of business in California, which is where it
22
     designed, created, conspired, and effectuated the interception and use of Plaintiff and Class Members’
23
     personally identifiable information and private communications.
24
            143.    The Trade Desk’s technology (e.g., the Universal Pixel, UID2 framework, etc.), and
25
     Plaintiff’s and Class Members’ computers, mobile devices, and connected TVs, are a “machine,
26
     instrument, contrivance, or . . . other manner” under CIPA § 631.
27

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 1           144.   At all relevant times, the Trade Desk used its technology to make unauthorized

 2 connections with the lines of communication and instruments used by Plaintiff and Class Members to

 3 access online services without the consent of all parties to those communications.

 4           145.   The Trade Desk willfully, and without consent, read or attempted to read, or learn the

 5 contents and meaning of, Plaintiff and Class Members’ communications with online services while those

 6 communications were in transmit or passing over a wire, line, or cable, or were being sent or received

 7 within California through the Universal Pixel and its UID1/2 framework, as described herein. This

 8 interception happens prior to or at the same time they would be received by the intended recipient.
 9           146.   The Trade Desk used, and attempted to use, these identifiable, private communications

10 for its own benefit, including targeted advertising as described herein.

11           147.   The Trade Desk also aided, agreed with, employed, and conspired with Private Operators

12 and advertising entities to intercept and use this data for profit.

13           148.   The interception and use of Plaintiff’s and Class Members’ communications was without

14 authorization or consent from Plaintiff and Class Members.

15           149.   Plaintiff and Class Members have been harmed as a result of the Trade Desk’s conduct.

16 Their private data has been intercepted, viewed, and used for targeted advertising and has not been

17 destroyed. Plaintiff and Class Members face an imminent threat of continued injury, as this data continues

18 to be stored and used, such that Plaintiff and Class Members have no adequate remedy at law.
19           150.   Plaintiff and Class Members seek statutory damages in accordance with § 637.2(a), which

20 provides for the greater of: (1) $5,000 per violation; or (2) three times the amount of damages sustained

21 by Plaintiff and the Classes in an amount to be proven at trial, as well as injunctive or other equitable

22 relief.
                                        FOURTH CAUSE OF ACTION
23                             Violation of the California Invasion of Privacy Act
24                                            Cal. Penal Code § 632
                                     On Behalf of the Plaintiff and Classes
25
             151.   Plaintiff re-alleges and incorporates the preceding allegations of this Complaint with the
26
     same force and effect as if fully restated herein.
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 1          152.   Cal. Penal Code § 632 prohibits “intentionally and without the consent of all parties to a

 2 confidential communication,” the “use[] [of] an electronic amplifying or recording device to eavesdrop

 3 upon or record the confidential communication[.]”

 4          153.   Section 632 defines “confidential communication” as “any communication carried on in

 5 circumstances as may reasonably indicate that any party to the communication desires it to be confined

 6 to the parties thereto[.]”

 7          154.   Plaintiff’s and Class Members’ communications to online services are confidential

 8 communications for purposes of § 632, because Plaintiff and Class Members had an objectively
 9 reasonable expectation of privacy in this data.

10          155.   Plaintiff and Class Members expected their communications would not be shared with the

11 Trade Desk, as there were no disclosures that the Trade Desk would secretly eavesdrop upon or record

12 their information and communications.

13          156.   The Trade Desk’s Universal Pixel and UID1/2 framework are electronic amplifying or

14 recording devices for purposes of § 632.

15          157.   By contemporaneously intercepting and recording Plaintiff’s and Class Members’

16 confidential and identifiable communications to online services through this technology, the Trade Desk

17 eavesdropped and/or recorded confidential communications through an electronic amplifying or

18 recording device in violation of § 632 of CIPA.
19          158.   At no time did Plaintiff or Class Members consent to the Trade Desk’s conduct, nor could

20 they reasonably expect that their communications with online services would be overheard and recorded

21 by the Trade Desk.

22          159.    The Trade Desk utilizes these private communications for their own benefit, including to

23 serve targeted advertisements and develop user profiles.

24          160.   Plaintiff and Class Members have been harmed as a result of the Trade Desk’s conduct.

25 Their private data has been intercepted, viewed, and used for targeted advertising and has not been

26 destroyed. Plaintiff and Class Members face an imminent threat of continued injury, as this data continues

27 to be stored and used, such that Plaintiff and Class Members have no adequate remedy at law.

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                                               25
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 1           161.   Plaintiff and Class Members seek statutory damages in accordance with § 637.2(a) which

 2 provides for the greater of: (1) $5,000 per violation; or (2) three times the amount of damages sustained

 3 by Plaintiff and the Classes in an amount to be proven at trial, as well as injunctive or other equitable

 4 relief.

 5                                        FIFTH CAUSE OF ACTION
                               Violation of the California Invasion of Privacy Act
 6                                     Cal. Penal Code § 638.50 & 638.51
 7                                   On Behalf of the Plaintiff and Classes
             162.   Plaintiff re-alleges and incorporates the preceding allegations of this Complaint with the
 8
     same force and effect as if fully restated herein.
 9
             163.   CIPA § 638.50(b) defines a “pen register” as a “device or process” that “records or decodes
10
     dialing, routing, addressing, or signaling information” that is “transmitted by an instrument or facility
11
     from which a wire or electronic communication is transmitted, but not the contents of a communication.”
12
             164.   Separately, CIPA § 638.50(c) defines a “[t]rap and trace device” as a “device or process
13
     that captures the incoming electronic or other impulses that identify the originating number or other
14
     dialing, routing, addressing, or signaling information reasonably likely to identify the source of a wire or
15
     electronic communication, but not the contents of a communication.”
16
             165.   CIPA § 638.51 prohibits a person from installing either a pen register or trap and trace
17
     device without a court order.
18
             166.   The Trade Desk is a person under CIPA § 638.51.
19
             167.   The Trade Desk implemented and installed the Universal Pixel and UID1/2 framework—
20
     which are pen registers and/or trap and trace devices—on Plaintiff’s and Class Members’ devices and
21
     browsers.
22
             168.   These processes captured “routing, addressing, or signaling information” because they
23
     intercept: (1) users’ directly identifiable information, either email addresses or phone numbers; (2)
24
     existing UID2s (either in raw or tokenized form) keyed off users’ email addresses or phone numbers; (3)
25
     UID1, which is a persistent cookie used to track users’ across the internet; (4) the “adv” which is a
26
     parameter that identifies the “advertiser” whose website is visited and uses the Trade Desk’s offending
27

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 1 software/processed; and (5) the destination URL (e.g., the domain of the webpages or other online

 2 services the user visited).

 3           169.   The Trade Desk was not authorized by any court order to use a pen register or trap and

 4 trace device to record or capture Plaintiff’s and Class Members’ routing, addressing, or signaling

 5 information.

 6           170.   Plaintiff and Class Members did not consent to the Trade Desk’s installation of a pen

 7 register or trap and trace device on their devices and browsers.

 8           171.   Plaintiff and Class Members have been harmed as a result of the Trade Desk’s conduct.

 9 The Trade Desk did not have authorization to use pen registers and/or trap and trace devices to surveille

10 and identify Plaintiff and Class Members or other routing, addressing, and signaling information

11 revealing who the intended recipients of their communications were.

12           172.   Plaintiff and Class Members face an imminent threat of continued injury, as this data

13 continues to be stored and used, such that Plaintiff and Class Members have no adequate remedy at law.

14           173.   Plaintiff and Class Members seek statutory damages in accordance with § 637.2(a) which

15 provides for the greater of: (1) $5,000 per violation; or (2) three times the amount of damages sustained

16 by Plaintiff and the Classes in an amount to be proven at trial, as well as injunctive or other equitable

17 relief.

18                                      SIXTH CAUSE OF ACTION
                    Violation of the Comprehensive Computer Data Access and Fraud Act
19                                    Cal. Penal Code § 502 (“CDAFA”)
20                                   On Behalf of the Plaintiff and Classes
             174.   Plaintiff re-alleges and incorporates the preceding allegations of this Complaint with the
21
     same force and effect as if fully restated herein.
22
             175.   The California Legislature enacted the CDAFA to “expand the degree of protection
23
     afforded . . . from tampering, interference, damage, and unauthorized access to [(including the extraction
24
     of data from)] lawfully created computer data and computer systems,” finding and declaring that “the
25
     proliferation of computer technology has resulted in a concomitant proliferation of . . . forms of
26
     unauthorized access to computers, computer systems, and computer data,” and that “protection of the
27

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 1 integrity of all types and forms of lawfully created computers, computer systems, and computer data is

 2 vital to the protection of the privacy of individuals . . .” Cal. Penal Code § 502(a).

 3          176.    Plaintiff’s and Class Members’ devices on which Trade Desk’s Tracking Technology is

 4 installed, including their computers, smart phones, and tablets, constitute “Computer system[s]” within

 5 the meaning of the CDAFA. Id. § 502(b)(5).

 6          177.    The data that Trade Desk accessed and collected from Plaintiff’s and Class Members’

 7 devices constitute “Data” within the meaning of the CDAFA. Id. § 502(b)(8).

 8          178.    Defendant Trade Desk violated § 502(c)(1) of the CDAFA by knowingly accessing and

 9 using without permission Plaintiff’s and Class Members’ devices in order to wrongfully obtain and use

10 their personal data, in violation of users’ reasonable expectations of privacy in their devices and data.

11          179.    Defendant Trade Desk violated § 502(c)(2) of the CDAFA by knowingly and without

12 permission taking, copying, and making use of Plaintiff’s and the Class Members’ personally identifiable

13 information from their devices.

14          180.    Defendant Trade Desk’s Tracking Technology incorporated on Plaintiff’s and the Class

15 Members’ devices constitute “computer services” within the meaning of the CDAFA. Defendant Trade

16 Desk violated § 502(c)(3) by knowingly and without permission using those computer services, and/or

17 causing them to be used. Defendant Trade Desk violated § 502(c)(7) by knowingly and without

18 permission accessing those devices, and/or causing them to be accessed.
19          181.    Defendant Trade Desk violated §§ 502(c)(6) and (c)(13) of the CDAFA by knowingly, and

20 without permission from Plaintiff and the Class Members, providing and/or assisting in providing

21 advertisers and ads publishers the ability to access Plaintiff’s and the Class Members’ personal data via

22 its Tracking Technology.

23          182.    Under § 502(b)(12) of the CDAFA a “Computer contaminant” is defined as “any set of

24 computer instructions that are designed to . . . record, or transmit information within a computer,

25 computer system, or computer network without the intent or permission of the owner of the information.”

26 Defendants Trade Desk violated § 502(c)(8) by knowingly and without permission introducing a

27 computer contaminant via its Tracking Technology incorporated on Plaintiff’s and the Class Members’

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 1 devices, which intercepted their personal data. As described supra, the Tracking Technology is deeply

 2 hidden; Plaintiff and Class Members had no way to remove it or opt out of its functionality.

 3          183.    Plaintiff and Class Members suffered damage and loss as a result of the Trade Desk’s

 4 conduct. The Trade Desk’s practices have deprived Plaintiff and the Class Members of control over their

 5 valuable property (namely, their sensitive personal data), the ability to receive compensation for that data,

 6 and the ability to withhold their data for sale.

 7          184.    Plaintiff and the Class Members seek compensatory damages in accordance with CDAFA

 8 § 502(e)(1), in an amount to be proven at trial, and injunctive or other equitable relief.
 9          185.    Plaintiff and Class Members have also suffered irreparable and incalculable harm and

10 injuries from the Trade Desk’s violations. The harm will continue unless the Trade Desk is enjoined from

11 further violations of this section. Plaintiff and Class Members have no adequate remedy at law.

12          186.    Plaintiff and the Class Members are entitled to punitive or exemplary damages pursuant

13 to Cal. Penal Code § 502(e)(4) because the Trade Desk’s violations were willful and, upon information

14 and belief, the Trade Desk is guilty of oppression, fraud, or malice as defined in Cal. Civil Code § 3294.

15 Plaintiff and the Class Members are also entitled to recover their reasonable attorneys’ fees under §

16 502(e)(2).

17                                    SEVENTH CAUSE OF ACTION
                                            Unjust Enrichment
18                                   On Behalf of the Plaintiff and Classes
19          187.    Plaintiff re-alleges and incorporates the preceding allegations of this Complaint with the
20 same force and effect as if fully restated herein.

21          188.    The Trade Desk receives benefits from Plaintiff and Class Members in the form of their
22 personally identifiable information and private online communications. The Trade Desk acquired this

23 information without Plaintiff’s and Class Members’ authorization and without providing corresponding

24 compensation.

25          189.    The Trade Desk acquired and used this private data for its own benefit, including tangible
26 economic benefits from companies that used the Trade Desk for targeted advertising.

27          190.    Had Plaintiff and Class Members known of the Trade Desk’s misconduct, they would not
28 have agreed the Trade Desk could acquire and use their private data.

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 1          191.   The Trade Desk unjustly retained these benefits at the expense of Plaintiff and Class

 2 Members. Plaintiff and Class Members were harmed by this conduct and were not provided any

 3 commensurate compensation.

 4          192.   The benefits the Trade Desk received and derived from Plaintiff and Class Members’

 5 private data rightly belong to Plaintiff and Class Members. It is inequitable under unjust enrichment

 6 principles for the Trade Desk to retain the profits and other intangible benefits they derived through its

 7 wrongful conduct.

 8          193.   The Trade Desk should be compelled to disgorge these profits and other inequitable

 9 proceeds in a common fund for the benefit of Plaintiff and Class Members.

10                                     EIGHTH CAUSE OF ACTION
                                              Injunctive Relief
11                                   On Behalf of the Plaintiff and Classes
12          194.   Plaintiff re-alleges and incorporates the preceding allegations of this Complaint with the
13 same force and effect as if fully restated herein.

14          195.   The Trade Desk’s conduct has and continues to cause harm to Plaintiff and Class
15 Members’ privacy and autonomy, as it continues to store unique persistent identifiers, as well as the

16 private contents of their communications, on its own systems. The Trade Desk routinely uses this

17 information for targeted advertising.

18          196.   Accordingly, Plaintiff and Class Members seek injunctive relief, including an order
19 permanently restraining the Trade Desk from continuing to use and store this information without consent

20 and/or a court order, and requiring the Trade Desk to delete this information from its systems.

21                                          PRAYER FOR RELIEF
22          WHEREFORE, Plaintiff on behalf of himself and the putative Class requests the Court enter an
23 Order:

24                 a. Certifying the Classes and appointing Plaintiff as Class Representative;
25                 b. Finding the Trade Desk’s conduct unlawful;
26                 c. Awarding injunctive and other equitable relief as is just and proper;
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 1               d. Awarding Plaintiff and the Classes statutory, actual, compensatory, punitive, nominal,

 2                   and other damages, as well as restitution and/or disgorgement of unjust and unlawful

 3                   profits;

 4               e. Awarding pre-judgment and post-judgment interest;

 5               f. Awarding reasonable attorneys’ fees, costs, and expenses; and

 6               g. Granting any other relied as the Court sees just and proper.

 7 Dated: April 7, 2025

 8                                             /s/ James Wagstaffe_____________
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